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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA

                   Plaintiff,
                                              Case No. 09-CR-043-SPF

v.

LINDSEY KENT SPRINGER,
OSCAR AMOS STILLEY

                   Defendants.


         MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR FRANK’S
              HEARING AND MOTION TO SUPPRESS EVIDENCE

      Lindsey Kent Springer (“Springer”) files this memorandum of law in support of

his Motion for a Frank’s Hearing and Motion to Suppress certain evidence obtained

in violation of Springer’s Fourth and Fifth Amendment.

1.    FACTS NOT IN DISPUTE

      Springer first was being investigated by a Grand Jury in 1995. See declaration

of Lindsey K. Springer. On September 3, 1996, the Internal Revenue Service (“IRS”)

sent Springer a Notice of Deficiency addressed to 5147 S. Harvard, # 116, Tulsa,

Oklahoma, 74135, using the Bureau of Labor Statistics for years 1990 through 1995.

See Exhibit 1   Springer was being investigated by Neal Kirkpatrick out of the

Northern District as of September 25, 1996. See Exhibit 2 (Historical # 1180) Springer

received evidence in July, 2005, in case 05-466,(W.D. Oklahoma) under Rule 26, he

was being investigated in 1997, 1998 and 1999, by the Criminal Investigation of the

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IRS. See Exhibit 3,(Individual Master File code “914")   On April 28, 1999, the IRS,

under the Restructuring and Reform Act of 1998 mandates of Congress, purportedly

mailed to Springer a Notice of Tax Lien and Right to Collection Due Process

Hearing, but instead of using Springer’s Last Known Address of 5147 S. Harvard, #

116, as they knew to do, the IRS used a then unknown address of 5943 E. 13th St. See

Exhibit 4 (Ambhuel Declaration in 08-278)

      On July 3, 2001, an ongoing criminal investigation of Lindsey Springer and

Bondage Breaker’s Ministries was active. See Exhibit 5 (Meadors # 141) On March

6, 2003, an active criminal “referral” was ongoing against Springer. See Exhibit 6

(Meadors # 18) On October 14, 2003, Criminal Investigation is actively involved in

hot pursuit of Springer for non filing. See Exhibit 7 (Meadors # 21) Donna Meadors

was officially a “revenue agent” during this time period but secretively, she had

applied for the position of Criminal Investigator (“CI”). See Exhibit 15, Deposition

of Meadors, pg. 7-8 Meadors was turned down for CI the first time. Exhibit 15,

Deposition at pg. 8

      The Pattersons were tried beginning in November 17, 2003, with the return of

guilty on all counts by the Jury on December 16, 2003. See Exhibit 8, Memo of Tim

Arsenault dated May 6, 2004 (MOI 125).       Donna Meadors testified at the trial of

Eddy and Judy Patterson as a Revenue Agent. See Declaration of Springer at 1.

Tim Arsenault and Donald Shoemake were the main investigators in bringing the

Pattersons to Trial. See Exhibit 9 (PA 857)(March 1, 2000 Memorandum Interview of


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Eddy Patterson).   On January 26, 2004, Special Agent Donna Meadors, in disguise

as a “Revenue Agent” sent Springer a letter involving a 6700 investigation she was

pursuing. See Exhibit 10 (Meadors 1.26.04)

       Springer was notified by Donna Meadors in this letter she had “reviewed

certain materials with respect to your tax shelter promotion.” Id.    Springer was

assured by Meadors he was not under any criminal investigation and that Meadors

was simply investigating a tape the IRS found on the internet dated in 1995. See

Declaration of Lindsey K. Springer at 2. Meadors also informed Springer she was

working with no other person and the information Springer shared with her was not

being reviewed by any other person. Springer’s declaration at 2      Meadors wrote

on Springer’s file that when Springer found out this was not true Springer was “not

happy” about it. Exhibit 11 (Case History File, pg. 9)

       On May 12, 2004, Springer was being further investigated by Special Agent

Tim Arsenault and Stan Swagerty of the IRS and FBI. See Exhibit 12 (MOI # 211)

Special Agent Arsenault was the Case Agent assigned in the Patterson Trial and

worked directly with Agent Donna Meadors. Springer’s Declaration at 1        Doug

Horn and Melody Nelson were a part of that investigation. See Exhibit 8 (MOI # 125)

       Ms. Meadors sent Springer a letter stating he was not found to have

committed any acts prohibited by section 6700 on December 2, 2004. See Exhibit

13.   On March 2, 2005, a Revenue Officer Fred Rice, sent a Notice of Levy and

Right to Collection Due Process Hearing purportedly to Springer but at 5943 E. 13th


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St. and not the last known address of 5147 S. Harvard, # 116, Tulsa, Oklahoma 74135

that appears on the Notice of Deficiencies in 1996 (Exhibits 1) and that likewise

appeared on Donna Meadors letters dated January 26, 2004 and December 2,

2004. (Exhibit 10 and 13) Rice instead scotch taped a business card to Springer’s

front door. Exhibit 14   Springer commences 05-466 on April 25, 2005, based in part

on Rice’s conduct with Springer. See Declaration of Springer at 2. This case was

known as 05-466 (W.D.Ok.)

      On April 26, 2005, the next day, Brian Shern Declares he was assigned to do

a criminal investigation of Springer. Exhibit 19 (declaration of Shern in 06-156) On

August 15, 2005, the IRS decides to issue two Notice of Determinations to Springer

using the correct address. See Exhibit 16       One notice gave Springer the option of

going to the District Court and the other to the Tax Court within 30 days. Springer

opted to the United States District Court and on September 15, 2005, Springer

commenced 05-1075 in the Western District of Oklahoma. See Declaration of

Springer at 2.

      On September 15, 2005, Melody Nelson obtained a purported search warrant

to search the private home location of Springer for certain evidence of willful failure

to file and tax evasion crimes. See Exhibit 18 Declaration of Melody Nelson in 06-

156. Allegedly accompanying this purported request of Nelson was a document

entitled declaration. Exhibit 18, at 2-3 (“I presented the search warrant and the

supporting declaration of lRS Special Agent Brian M. Shern”) Brian Shern also filed


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a Declaration in 06-156. See Exhibit 19 On May 22, 2009, and again, on May 29,

2009, Springer confirmed no “declaration” was ever made in obtaining the search

warrant and that only an unverified document styled “Affidavit in Support of

Application for Search Warrant” was on file in the Clerk’s Office. See Springer’s

declaration at 3

      Special Agent Brian Shern purportedly states that he is an accountant since

2000 and has performed “financial statement audits” for PricewaterhouseCoopers,

LLC before his current job. Exhibit at 20 Shern graduated from training to be a

“Special Agent” in February, 2005. He states he is being instructed and supervised

by Special Agent Donald Shoemake. He testifies that the “investigation” of Eddy

Patterson was “expanded to include Lindsey Springer.” Exhibit 20 at 3. Shern states

his “investigation pertains to allegations that Lindsey Springer received income for

providing legal and tax advice to numerous clients, and that he knowingly and

willfully did not report this income in order to evade the taxes associated with it.”

Exhibit 20 at 3. Shern also “suggests” that “Springer’s conduct may constitute

violations of Title 26, U.S.C. § 7212(a). Exhibit 20 at 3.   He also states that the

“information” he was presenting in this “affidavit” “was received by the affiant from

personal observation and experience, from other law enforcement officers, and

other individuals named herein.”

      Shern stated that “In March 2000, Patterson met with Stilley and Lindsey

Springer (Springer) to discuss the issue of him being under criminal investigation for


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tax violations. At the meeting Patterson decided to hire Springer and Stilley to

represent him with respect to his criminal investigation. Springer told Patterson he

was not an attorney.” Exhibit 20 at 4.

      Patterson stated Springer “initially told him that he needed $ 45,000 to work

on the case. Patterson said he paid Springer this $ 45,000 over the next several

months. Springer asked Patterson to write ‘donation’ on the memo line of the

checks that were written to him.” “Patterson said that any payments to Springer

represented fees for services related to handling his criminal case.” “It is not known

if BBM functions as a ministry.” “Patterson identified three $ 10,000 checks written

to Springer dated 8/25/00, 9/25/00 and 11/9/00...” “These records were obtained

pursuant to a grand jury subpoena issued during the investigation of Patterson.”

Patterson said these “were part of the $ 45,000 paid to Springer, and that he

thought there were another check written to Springer earlier than August 2000 that

investigators did have at the interview.” Exhibit 20, at 5

      On or around the “Spring of 2003, Patterson endorsed a $ 112,500 check

payable to him for the sale of ECC Energy Stock over to Stilley for legal fees.

Patterson said he gave Stilley permission to pay Springer $ 15,000 for services

rendered by Springer for Patterson’s criminal case.” Exhibit 20 at 5

      Shern stated that he had examined the IOLTA account of Oscar Stilley and

confirmed the $ 112,500 was deposited in Stilley’s account and that a check for

$14,539 was “paid to Springer from the IOLTA.” Exhibit 20 pg. 6. Shern also stated


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he reviewed emails between Springer and Patterson and Stilley in July and August

2003 and that these “discussions” included “legal strategy and explanation of court

procedures.” Exhibit 20 at 6.

        In November, 2003, “Patterson said that he gave Stilley permission” to pay

Springer $ 90,000 of money Patterson received from an insurance settlement with

“officer’s and directors” insurance. Stilley paid Springer $ 90,000 of this money for

Springer’s expertise and services rendered for Patterson’s criminal case.” Exhibit 20

at 6.

        Section 7 of Shern’s unverified statements identify Shern heavily relied upon

the purported 6700 investigation of Special Agent Donna Meadors. Shern states

that he “reviewed records from a civil IRS investigation of Springer which was

conducted to determine if Springer was involved in the promotion of anti tax plans

or abusive trusts for the period of January 1, 2000 to December 31, 2003. Exhibit 20

at 7.

        Shern also states that “based upon the information contained in this affidavit,

I have probable cause to believe and do believe that within the premises

described in Attachment A, Location to be Searched, ... are now located records

evidencing Federal Violations of Title 26, U.S.C. Section 7201 and 7203.” Exhibit 20

at 24      Shern’s declaration in 06-156, attached as Exhibit 19, contains the

Magistrate’s “Search Warrant” and is accompanied by “Exhibit A & B.”

2.      LEGAL AUTHORITY IN FAVOR OF FRANK’S HEARING


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       A search warrant must be voided and the fruits of the search suppressed

where a court (1) finds that the affiant knowingly or recklessly included false

statements in or omitted material information from an affidavit in support of a

search warrant and (2) concludes, after excising such false statements and

considering such material omissions, that the corrected affidavit does not support

a finding of probable cause. Franks v. Delaware, 438 U.S. 154, 155-56,98 S.Ct. 2674,

57 L.Ed.2d 667 (1978); United States v. Kennedy,131 F.3d 1371, 1376 (10th Cir. 1997).

U.S. v. Garcia -Zambrano, 530 F.3d 1249, 1254 (10th Cir. 2008) "Affidavits for search

warrants must be tested in a common sense and realistic manner, and warrants

issued thereon should not be interpreted hypertechnically." United States v. Berry,

423 F.2d 142, 144 (10th Cir. 1970). Garcia at 1256

       Although it is true that a search warrant affidavit may contain hearsay

evidence, see United States v. Mathis, 357 F.3d 1200, 1204 (10th Cir. 2004), the

government is held accountable "for statements made not only by the affiant but

also for statements made by other government employees which were deliberately

or recklessly false or misleading insofar as such statements were relied upon by the

affiant in making the affidavit," Kennedy, 131 F.3d at 1376. See also Franks, 438 U.S.

at 163 n. 6, 98 S.Ct. 2674 (["T]he Court [in Rugendorf v. United States, 376 U.S. 528,

84 S.Ct. 825, 11 L.Ed.2d 887 (1964)] took as its premise that police could not insulate

one officer's deliberate misstatement merely by relaying it through an officer-affiant

personally ignorant of its falsity.").


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      It is a violation of the Fourth Amendment for an affiant to knowingly and

intentionally, or with reckless disregard for the truth, make a false statement in an

affidavit." United States v. Basham, 268 F.3d 1199, 1204 (10th Cir. 2001) (citing Franks,

438 U.S. at 171-72). Where a false statement is made in an affidavit for a search

warrant, the search warrant must be voided only if the affidavit's remaining content

is insufficient to establish probable cause. Franks, 438 U.S. at 171-72.

      In determining whether probable cause supports a search warrant, we

review the sufficiency of the underlying affidavit by looking at the totality of the

circumstances and ensuring "the magistrate had a substantial basis for concluding

that probable cause existed." United States v. Tisdale, 248 F.3d 964, 970 (10th Cir.

2001) (internal citations and quotations omitted). Probable cause to issue a search

warrant exists only when the supporting affidavit sets forth facts that lead a prudent

person to believe a fair probability exists that contraband or evidence of a crime

will be found in a particular place. See United States v. Wicks, 995 F.2d 964, 972-73

(10th Cir. 1993).

      Franks, however, applies only to intentional or reckless omissions from the

affidavit. See Avery, U.S. v. Avery, 295 F.3d 1158, 1166 (10th Cir. 2002) "Under Franks,

a hearing on the veracity of the affidavit supporting a warrant is required if the

defendant makes a substantial showing that the affidavit contains intentional or

reckless false statements and if the affidavit, purged of its falsities, would not be

sufficient to support a finding of probable cause." United States v. Kennedy, 131



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 F.3d 1371, 1376 (10th Cir. 1997) (citing Franks, 438 U.S. at 155-56, 98 S.Ct. 2674). "The

 standards of deliberate falsehood and reckless disregard set forth in Franks apply

 to material omissions, as well as affirmative falsehoods." United States v. McKissick,

 204 F.3d 1282, 1297 (10th Cir. 2000). If, after considering the evidence presented at

 a Franks hearing, the district court concludes by a preponderance of the evidence

 that the affidavit contains "intentional or reckless false statements," Kennedy, 131

 F.3d at 1376, or "material omissions," McKissick, 204 F.3d at 1297, "then the district

 court must suppress the evidence         obtained pursuant to the warrant." Id. If,

 however, the district court concludes that the omitted information would not have

 altered the magistrate judge's decision to authorize the search, then the fruits of the

 challenged search need not be suppressed. Id. at 1297-98; Kennedy, 131 F.3d at

 1376.

         Rather, courts reviewing the alleged omission of information bearing on an

 informant's credibility ask whether, assuming the magistrate judge had been

 apprised of the omitted information, the judge still "would have found probable

 cause to issue the search warrant." Kennedy, 131 F.3d at 1377; McKissick, 204 F.3d

 at 1297 (same). In asking this question, it is important to keep in mind that "[a]

 magistrate judge's task in determining whether probable cause exists to support a

 search warrant `is simply to make a practical, common-sense decision whether,

 given all the facts and circumstances set forth in the affidavit before him, including

 the `veracity' and `basis of knowledge' of persons supplying hearsay information,


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 there is a fair probability that contraband or evidence of a crime will be found in

 a particular place.'" Kennedy, 131 F.3d at 1378 (quoting Gates, 462 U.S. at 238, 103

 S.Ct. 2317).

       "The deliberate falsity or reckless disregard whose impeachment is permitted

 today is only that of the affiant, not of any nongovernmental informant." Franks, 438

 U.S. at 171, 98 S.Ct. at 2684. It is not enough to show that the informant lied to an

 unsuspecting affiant, or that an affiant's negligence or innocent mistake resulted

 in false statements in the affidavit. United States v. Orr, 864 F.2d 1505, 1508 (10th Cir.

 1988); United States v. Bloomgren, 814 F.2d 580, 584 (10th Cir. 1987). Thus to qualify

 for a Franks hearing, Owens must make a substantial showing that Harper and

 Nestor knew of, or recklessly disregarded the truth. Bloomgren, 814 F.2d at 584

 (citing United States v. Schauble, 647 F.2d 113, 117 (10th Cir. 1981)).

       The perception underlying these decisions — that the connection between

 police misconduct and evidence of crime may be sufficiently attenuated to permit

 the use of that evidence at trial — is a product of considerations relating to the

 exclusionary rule and the constitutional principles it is designed to protect.

 Dunaway v. New York, 442 U.S. 200, 217-218 (1979);

       Deference to the magistrate, however, is not boundless. It is clear, first, that

 the deference accorded to a magistrate's finding of probable cause does not

 preclude inquiry into the knowing or reckless falsity of the affidavit on which that

 determination was based. Franks v. Delaware, 438 U.S. 154 (1978). Second, the


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 courts must also insist that the magistrate purport to "perform his `neutral and

 detached' function and not serve merely as a rubber stamp for the police." Aguilar

 v. Texas, supra, at 111. See Illinois v. Gates, supra, at 239. A magistrate failing to

 "manifest that neutrality and detachment demanded of a judicial officer when

 presented with a warrant application" and who acts instead as "an adjunct law

 enforcement officer" cannot provide valid authorization for an otherwise

 unconstitutional search. Lo-Ji Sales, Inc. v. New York, 442 U.S. 319, 326-327 (1979).

 United States v. Leon, 468 U.S. 897, 914-915 (1984)

 3.    LEGAL AUTHORITY IN FAVOR OF SUPPRESSION

       A. Fourth and Fifth Amendment.

       The Fourth Amendment requires not only that warrants be supported by

 probable cause, but that they "particularly describ[e] the place to be searched,

 and the persons or things to be seized." U.S. Const. amend. IV. The particularity

 requirement "ensures that the search will be carefully tailored to its justifications,

 and will not take on the character of the wide-ranging exploratory searches the

 Framers intended to prohibit." Maryland v. Garrison, 480 U.S. 79, 84 (1987). See also

 Marron v. United States, 275 U.S. 192, 196 (1927) ("The requirement that warrants shall

 particularly describe the things to be seized makes general searches under them

 impossible and prevents the seizure of one thing under a warrant describing

 another. As to what is to be taken, nothing is left to the discretion of the officer

 executing the warrant.").



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       In Gouled v United States, 255 U.S. 298, 306, 41 S.Ct. at p. 264, the Supreme

 Court said:


          "In practice the result is the same to one accused of crime,
          whether he be obliged to supply evidence against himself or
          whether such evidence be obtained by an illegal search of his
          premises and seizure of his private papers. In either case he is the
          unwilling source of the evidence, and the Fifth Amendment
          forbids that he shall be compelled to be a witness against himself
          in a criminal case."

          The Supreme Court has reiterated this principle in subsequent cases, see

 Agnello v. United States, 269 U.S. 20, 46 S.Ct. 4, 70 L.Ed. 145 (1925) and United States

 v. Lefkowitz, 285 U.S. 452, 52 S.Ct. 420, 76 L.Ed. 523 (1932), and the same proposition

 appears implicit in the Court's rationale in both Warden v. Hayden,

 387 U.S. 294, 87 S.Ct. 1642 (1967) and Schmerber v. California, 384 U.S. 757, 86 S.Ct.

 1826 (1966).

          Any jury will know the books and records belong to Springer and the

 entries he has made therein speak against him as clearly as his own voice. “This

 seems particularly true in a prosecution for violation of the income tax laws.” Hill v.

 Philpott, 445 F.2d 144, 146 (7th Cir. 1971)

       In United States v. Dickerson, 413 F.2d 1111 (7 Cir. 1969), the 7th Circuit held

 that the Miranda warnings must be given to a taxpayer under criminal investigation

 by the Internal Revenue Service at the inception of the first contact with the

 taxpayer after his case has been transferred to the Intelligence Division of the

 Internal Revenue Service for possible criminal prosecution. See also,

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 United States v. Lackey, 413 F.2d 655 (7 Cir. 1969); United States v. Habig, 413 F.2d

 1108 (7 Cir. 1969). We would vitiate the effects of those decisions if we ruled today

 that the government could avoid all Fifth Amendment considerations by

 merely obtaining a search warrant. Hill v. Philpott, 445 F.2d 144, 147 (7th Cir. 1971)

           In deciding this case as we do, we are not unmindful of the very difficult

 task that confronts the Internal Revenue Service in meeting its responsibility to

 enforce the income tax laws. There is no evidence, however, that the availability

 of the privilege against self-incrimination has unduly interfered with prosecutions

 which result from investigations wherein taxpayers' books and records have been

 sought by a summons. We believe the same experience will prove true in future

 cases involving searches and seizures.[fn6] Of course, the Fifth Amendment makes

 the business of criminal prosecutions more difficult, but

 this is its clear intent. Hill at 150

           Furthermore records are not producible under the "required

 records doctrine" enunciated in Shapiro v. United States, 335 U.S. 1, 68 S.Ct. 1375, 92

 L.Ed. 1787 (1948). It seems apparent however, that records maintained by an

 individual taxpayer exceed the constitutional limits of the required records doctrine.

 See Grosso v. United States, 390 U.S. 62, 88 S.Ct. 709,

 19 L.Ed.2d 906 (1968).

           In Warden v. Hayden (1967), 387 U.S. 294, 303, 87 S.Ct. 1642, the Supreme

 Court found it unnecessary to "consider whether there are items of evidential value


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 whose very nature precludes them from being the object of a reasonable search

 and seizure." In order to suppress the evidence in this case, it would be necessary

 to decide both that such class does exist, and that the

 business and professional records seized from appellant are within it.

          Probable cause must support the warrant authorizing the Government's

 search of Defendant's residence. See U.S. Const. amend.IV. (stating "no warrants

 shall issue, but upon probable cause"). Indeed, the "physical entry of the home is

 the chief evil against which the wording of the Fourth Amendment is directed."

 United States v. U.S. Dist. Court, 407 U.S. 297, 313 (1972). Our analysis of the

 lawfulness of this search begins with a summary of the evidence presented in the

 Government's probable-cause affidavit. U.S. v. Biglow, 08-3155 (10th Cir. 4-20-2009

       In Groh v. Ramirez, 540 U.S. 551, 124 S.Ct. 1284, 157 L.Ed.2d 1068 (2004), the

 Supreme Court recently affirmed that every warrant must meet the requirements

 of the Warrant Clause, and be based upon probable cause, supported by oath or

 affirmation. Id. at 1289-90; see also Albrecht v. United States, 273 U.S. 1, 4-6, 47 S.Ct.

 250, 71 L.Ed. 505 (1927) (holding an arrest warrant invalid because it was issued

 based upon affidavits which had been sworn to before an official "not authorized

 to administer oaths in federal criminal proceedings"). Thus, where a warrant is issued

 unsupported by oath or affirmation, it is invalid under the Fourth Amendment. See

 United States v. Rabe, 848 F.2d 994, 997 (9th Cir. 1988) (explaining that Warrant

 Clause "requires the government to establish by sworn evidence presented to a


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 magistrate that probable cause exists to believe that an offense has been

 committed").

       To use an IRS administrative summons, the government must show that the

 IRS has not made a referral of the taxpayer's case to the Justice Department for

 criminal prosecution. United States v. LaSalle National Bank, 437 U.S. 298, 98 S.Ct.

 2357, 57 L.Ed.2d 221 (1978). The government then must show that the IRS is

 proceeding in good faith by demonstrating: (1) that the investigation will be

 conducted pursuant to a legitimate purpose; (2) that the inquiry will be relevant to

 that purpose; (3) that the information sought is not already in the possession of the

 IRS; and (4) that the summons was issued in compliance with the administrative

 steps required by the Internal Revenue Code. United States v. Powell, 379 U.S. 48,

 85 S.Ct. 248, 13 L.Ed.2d 112 (1964); United States v. Balanced Financial

 Management, Inc., 769 F.2d 1440 (10th Cir. 1985).

       Institutional good faith on the part of the Internal Revenue Service is essential

 to insure honest pursuit of the goals of 26 U.S.C. § 7602 in the issuance of the

 summons. LaSalle, 437 U.S. at 313, 98 S.Ct. at 2365. In LaSalle, the IRS agent began

 his investigation of the taxpayer with information he received from the FBI, the local

 United States Attorney, and other federal agencies. To aid in this investigation, he

 issued two administrative summons which were subsequently made the subject of

 an enforcement hearing in the district court. The district court refused enforcement

 of the summons upon a finding that they were issued "solely for the purpose of


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 unearthing evidence of criminal conduct" by the taxpayer. LaSalle, 437 U.S. at 304,

 98 S.Ct. at 2361. That order was affirmed by the Seventh Circuit with the admonition

 that the use of an administrative summons "solely for criminal purposes is a

 quintessential example of bad faith." United States v. LaSalle National Bank, 554 F.2d

 302, 309 (7th Cir. 1977), rev'd, 437 U.S. 298, 98 S.Ct. 2357, 57 L.Ed.2d 221 (1978).

       In reversing, the Supreme Court concluded that the coincidence between

 a taxpayer's civil and criminal liability was such that the two could not be untwined

 prior to referral by the IRS to the Department of Justice for prosecution. Thus, until

 referral occurs, the pendency of a criminal investigation against the taxpayer does

 not inhibit the authority of the IRS to conduct investigations pursuant to § 7609.

 Anaya v. U.S., U.S., 815 F.2d 1373 (10th Cir. 1987)

 4.    THE PURPORTED “AFFIDAVIT” IS NOT SWORN OR AFFIRMED

       At all times Springer had the right to privacy in his home and was protected

 from unreasonable searches and seizures. On April 22, 2009, this Court denied

 Springer access to any transcribed meeting on September 15, 2005 between

 Melody Noble Nelson and Magistrate McCarthy, finding that no such evidence of

 such meeting existed.

       This Court did direct Springer to be given the “Affidavit” to which after

 Springer got through 33,000 documents, and no “Affidavit” was therein any

 discovery, Springer contacted the Clerk’s Office and obtained a true and

 complete copy of the document entitled “Affidavit in Support of Application for



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 Search Warrant.” See exhibit 20 and Declaration of Lindsey K. Springer

       Exhibit 20 begins “I, Brian M. Shern, being on oath first duly sworn, depose and

 say:” Exhibit 20, at 1. On page 24, Brian Shern signed his name claiming “Based on

 the information contained in this affidavit, I have probable cause to believe and

 do believe that with the premises described in Attachment A, Location to be

 Searched, incorporated herein by reference to the Search Warrant, are no w

 located records evidencing Federal Violations of Title 26, U.S.C. Sections 7201 and

 7203, including all records described in Attachment B, items to be Seized,

 incorporated herein by reference to the Search Warrant for property of Lindsey

 Springer.”

       Below his name is the phrase “Subscribed and Sworn to before me this ____

 day of _____, _____. Hand written in the blanks is “15th” “Sept” and “2005.” There

 is no identification of who “me” is and me’s power to administer oaths. Presuming

 without saying that the handwriting is Magistrate McCarthys, coupled with the

 known fact there is no meeting between Shern, Nelson and McCarthy of record,

 the record appears to show that the purported “affidavit” was never properly

 verified and sworn to by someone authorized to administer oaths.         There is also

 some confusion between whether what was presented with the “application” was

 an “affidavit” or a “declaration.”

       Ms. Nelson refers to the document as a “declaration” and says she prepared

 and presented to Magistrate McCarthy both the Search Warrant dated September


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 15, 2005, and the “declaration” of Brian Shern. See Exhibit 18, pg. 2-3     Shern

 contradicts Nelson   in his declaration in 06-156 and says he “presented an

 application and affidavit for Search Warrant” to Magistrate McCarthy who

 purportedly later that day “signed” what Shern presented earlier. See 19, pg. 2

       How the document entitled “Affidavit” was presented to Magistrate

 McCarthy is crucial as to whether the Search Warrant contained any probable

 cause, supported by oath or affirmation. Groh at 1289-90

       Exhibit C tendered to Springer by the Clerk’s Office on May 22, 2009, as

 affirmed on May 29, 2009, does not contain any evidence it was sworn to before

 anyone authorized to administer oaths. Furthermore, with the absence of any

 hearing before Magistrate McCarthy, there is no evidence Shern was orally sworn

 on the record and then reading his 24 page document into the record.

       Everything that was obtained by way of the “Search Warrant” is invalid under

 the Fourth Amendment because the Search Warrant was never supported by oath

 or affirmation with that oath being administered by someone authorized to

 administer oaths and therefor no probable cause established by Shern’s unsworn

 statements existed whatsoever.     This deletes all 24 pages of Shern’s unsworn

 statements from being considered an affidavit finding probable cause.

 5.    AFFIDAVIT CONTAINS INFORMATION OBTAINED IN VIOLATION OF THE FOURTH
       AND FIFTH AMENDMENT BY DONNA MEADORS AGAINST SPRINGER.

       At all times Springer had the right to privacy in his home and was protected

 from unreasonable searches and seizures. There is no question that the record

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 presented herein substantially shows that Springer was in ongoing criminal

 investigation mode by the United States from 1995 to the present. Special Agent

 Meadors was using civil IRS summons to hide a criminal investigation she was just

 one of several people pursuing. See Exhibit 2,3,5,6,7 and 12. When Springer

 received Meadors January 24, 2004 letter and subsequent summons, Springer

 asked Meadors whether he was under criminal investigation as far as her

 knowledge was concerned and Meadors answered absolutely NO! Springer asked

 her whether she was working with anyone else who was criminally investigating

 Springer and to which Meadors said there was no one she knew. Springer asked

 if she was working with Horn and Nelson to which she said absolutely not and in

 fact Meadors told Springer she was assigned to Springer before she was aware of

 the Patterson Indictment.       See Declaration of Springer at 2

       All the information Meadors obtained from Springer directly and indirectly,

 as a result of her 6700 investigation should be suppressed and held in violation of

 the Fourth and Fifth Amendment. The information Springer provided was illegally

 seized from Springer by violating the Supreme Court’s decision in United States v.

 LaSalle National Bank, 437 U.S. 298, 98 S.Ct. 2357, 57 L.Ed.2d 221 (1978) which held

 that use of the civil summons under section 7602 to do a civil investigation unlawful

 when referral has been made. See also United v. Jones, 703 F.2d 473 (10th Cir. 1983)

       Exhibit # 6 demonstrates a “referral” from a RA in Oklahoma relating to Mr.

 Springer’s current and continued non filer status.” This statement contained in the


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 Meador file is dated March 6, 2003. Exhibit # 21 shows “CI” as of 7.01.03. Exhibit 7

 shows CI in “further review.” Exhibit 8 shows two United States Department of

 Justice Attorneys, Horn and Nelson, CI Tim Arsenault and FBI Special Agent Stan

 Swagerty were trading purported information with Eddy Patterson for a reduced

 sentence. Brian Shern in his unsworn statement dated September 15, 2005, stated

 his “information” was obtained from “other law enforcement officers.” See Exhibit

 20 at 3.    Shern states that while Eddy Patterson was under “investigation” that

 “investigation” was “expanded to include Lindsey Springer. Exhibit 20, at 3. Shern

 states Patterson was found guilty on December 16, 2003. Id. The Pattersons were

 indicted on April 16, 2003. This would make Springer part of the “expanded”

 investigation prior to April 16, 2003.

         Because Special Agent Donna Meadors falsely obtained information from

 Springer on the disguise of a 6700 investigation, where in fact she was actively

 participating in a decade long criminal investigation of Springer for “non filing,” she

 was also pending becoming a Criminal Investigator (CI), and where there was an

 active “referral” with clear evidence of a criminal investigation of Springer,

 unbeknownst to Springer, Meador’s use of the civil summons procedure was

 knowingly in violation of the Supreme Court’s holding in United States v. LaSalle

 National Bank, 437 U.S. 298, 98 S.Ct. 2357, 57 L.Ed.2d 221 (1978) of which she clearly

 knew.      Springer had a right not to answer Meador’s questions involving her

 summons conduct under 6700 and was clearly denied that right with the utmost


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 intention by Meadors and others. Springer also had a right to remain with his

 information and not disclose it to Meadors and had he known the true intentions

 of Meadors Springer would have moved to quash Meadors Summons.

       All the evidence obtained by Meadors regarding her 6700 investigation

 should be suppressed and any subsequent usage of that information regarding fruit

 of the poisoned tree should also be suppressed. This deletes pages 7, paragraph

 7 through 12, paragraph 15 of Shern’s unsworn statements from being considered

 an affidavit finding probable cause.

 6.    BRIAN SHERN’S RELIANCE UPON MEADORS “INVESTIGATION” WAS IMPROPER
       IN VIOLATION OF SPRINGER’S FOURTH AND FIFTH AMENDMENT RIGHTS AND
       SUCH VIOLATIONS WERE NOT DONE IN GOOD FAITH.

       At all times Springer had the right to privacy in his home and was protected

 from unreasonable searches and seizures. Brian Shern stated that he relied upon

 “6700" investigation as he reviewed records Meadors obtained by way of Springer

 in violation of Springer’s Fourth and Fifth Amendment Rights. See Exhibit # 20, pg.

 7, paragraph 7. In paragraphs 8 through 15 of Shern’s unsworn statement, he

 gathers information from the name Phillip Roberts, James Lake, Michael Burt,

 Cynthia Hawkins, Erika Dertien, Salvatore Pizzino, Patrick Turner, Patrick Bogan, Orvil

 Duane Hassebrock and each of the “Ten” IRS-CI Special Agents from “different

 areas of the Country.” See Exhibit 20, pg 8-12. What is missing from Shern’s

 statement is any mention of speaking with any one of the named persons other

 than the Agents. There is nothing about speaking with any CI Agents across the



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 Country that would lead anyone to believe there was probable cause to search

 the home Springer lives in to find “evidence” of violations of section 7201 and 7203.

       This Court should suppress the evidence obtained by way of the Search

 Warrant obtained by way of Shern, relying in any way upon the unconstitutional

 conduct by Special Agent Meadors and find otherwise there was no probable

 cause established by Shern’s unsworn statements.

       Shern made statements relying upon others who came before him in the

 investigation of Springer and thus the only hope to save Shern in paragraph 7

 through 12 is good faith.

       Shern had no good faith and that can easily be seen from the record of this

 case. Shern’s Good Faith is affixed to the faith of Horn, Nelson, Arsenault, Meadors,

 Shoemake and Beckner.        Horn knew he was investigating Springer during the

 “investigation of Eddy Patterson.” Exhibit 20, at 3. This investigation was well before

 Pattersons were even indicted. Shern would have known about the Meadors

 conduct as he relied heavily upon it. Meadors conduct was in 2002 through 2004.

 Shern clearly spoke with Meadors as his unsworn statement suggests. Meadors also

 says in Exhibit 11, pg. 9, that she is sharing photographs with CI. Just because Shern

 comes on board on April 26, 2005, the say after 05-466 was filed in Oklahoma City,

 does not mean he had good faith because all those exercises in bad faith

 happened before his tenure.

       This deletes pages 7, paragraph 7 through 12, paragraph 15 of Shern’s


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 unsworn statements from being considered an affidavit finding probable cause.

 7.    SHERN’S UNSWORN AFFIDAVIT CONTAINS KNOWN FALSE STATEMENTS
       REGARDING EDDY PATTERSON AND PROBABLE CAUSE.


       At all times Springer had the right to privacy in his home and was protected

 from unreasonable searches and seizures. Brian Shern, Donna Meadors, Melody

 Nelson, Douglas Horn, Tim Arsenault, Donald Shoemake and Kathy Beckner, each

 relied upon the May 6, 2004 interrogation of Eddy Patterson in Shern’s unsworn

 statements dated sometime around September 15, 2005.

       Shern states that the investigation of Eddy Patterson “expanded” to include

 Lindsey Springer but he never says who was conducting that investigation. Shern

 stated he began as CI on April 26, 2005. Surely the Patterson investigation ended

 when the Patterson’s were indicted in 2003. If not, surely it ended when Patterson

 exchanged purported testimony for securing a benefit for himself in May of 2004.

 If not, then most definitely, when he was “sentenced” September 13, 2004.

       In this regard, Nelson informed the District Court on August 30, 2004, she and

 Patterson had reached an agreement that Patterson would cooperate fully with

 the investigation of the “criminal conduct of Oscar Stilley, Jerold Brringer and

 Lindsey Springer.” See Exhibit 22, pg. 2 (Joint Agreement)

       Springer has sought and has not received any Memorandum of Interview of

 Judy Patterson dated May 3, 2004 and presumes that means there is not one. See

 Declaration of Springer at 3. See also Exhibit 23, pg. 2 (Rule 35(b) Motion). Ms.



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 Nelson stated under Rule 11 that Ms. Patterson appeared on May 3, 2004, with her

 attorney William Widel. Exhibit 23, pg. 1. Mr. Knorr, in a Motion to be appointed

 Counsel for Eddy Patterson, stated under Rule 11 that after the Patterson

 “conviction” he was retained by Mr. Patterson and his wife. See Exhibit 24, pg. 1

 Jerold Barringer stated in a declaration filed in 03-cr-55 on October 8, 2004, that

 Widell told him he had not spoke to Ms. Patterson since around March 23, 2004,

 and that on or about September 1, 2004, he was contacted by Steve Knorr to

 receive a fax from Douglas Horn and that Ms. Patterson was getting a reduction in

 her sentence under Rule 35(b) for giving substantial assistance. See Exhibit 25, pg.

 2.   Barringer declared that at all times including May 3, 2004 and through

 September 1, 2004, he was Ms. Patterson’s attorney and had briefed her entire

 appeal to the 10th Circuit. Id.

       On page 3 of Exhibit 20, Shern states Patterson was represented by Stilley

 during his trial and “sentencing.” Nelson declared in Exhibit 18 that she drafted the

 Search Warrant and Attachments. Exhibit 18, pg. 2-3. Nelson knew Stilley did not

 represent Mr. Patterson for his sentencing. So did Arsenault and Horn. See Exhibit

 8. In fact, Arsenault writes that what Horn and Nelson were doing was obtaining a

 “Rule 11 proffer.” Id.

       Shern and Arsenault state Patterson told them after a meeting in early March,

 2000, Springer and Stilley would represent Patterson regarding his “tax problems.”

 Shern and Arsenault claim Patterson told them Springer sought at that Saturday


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 meeting $ 45,000 which Patterson paid Springer over the next several months. See

 Exhibit 8, at 2. Shern and Arsenault claim patterson told them Springer directed

 Patterson to write on his $ 10,000 checks “donation” on the “memo” line. Patterson

 said it was “understood” any “payments to Springer were fees for his services for

 handling his criminal case.” Id.   Patterson stated he would not have made any

 “donation” to Springer because that is not what Paterson made donations to.” Id.

 Patterson believes there was another check “earlier than August written to Springer

 that investigators did not have at the interview.” Id. Patterson identified three $

 10,000 checks written to Springer dated 8.25.00, 9.25.00 and 11.9.000. Id.

       All of this above is false and Shern knew it at the time he made his unsworn

 statement on or about September 15, 2005. Shern says Patterson “hired” Springer

 in March, 2000, but Springer does not receive any money until August 25, 2000 some

 6 months later. Accompanying the first $ 10,000 check to Springer dated August

 25, 2000, Patterson sends a letter that says:

       Please find enclosed our donation check hopefully as an
       encouragement to you to continue your fight against the anti
       constitutional issues endorsed, encouraged and policed by our
       government. If we had more Christians standing up for God's laws and
       for the rights of the American people, this would once again be a
       country of the people, by the people and for the people, endowed
       and blessed by its Creator. Thank you for being willing to suffer
       persecution to do that which is right In closing please don't forget to
       call Eric Lynch to discuss the issues he is working on.
       Sincerely in Christ, Eddy Patterson


 See Exhibit 26.


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       Yet, Shern states “Patterson decided to hire Springer and Stilley to represent

 him with respect to his criminal tax investigation. Exhibit 20, pg. 4. Patterson “said

 any payments to Springer represented fees for services.” Id. Exhibit 26 clearly

 demonstrates what Shern stated Patterson told him was knowingly false. Shern

 further wrote “Patterson would not have made charitable donations to Springer

 because he did not believe that Springer had any kind of religious ministry.” Exhibit

 20, at 5. Yet, Exhibit 26 uses the term “Christians” “God” “Creator” and “Christ.”

 Shern knowingly left this out of his unsworn statement because he knew if opposed

 his agenda to get Springer for the team. To believe Shern the Magistrate would

 have to believe Springer was hired in March, 2000, but not paid, yet the one calling

 all the shots. To believe this is absurd on its face. Patterson and Shern know that

 Patterson and Springer met in January after Springer directed Patterson to dismiss

 his civil complaint against Jay Bryce which was done on December 14, 1999. See

 Exhibit 27; See also Springer Declaration at 1.

       Then there is the $ 45,000. Shern would have this Court believe that his

 service theory takes the $ 30,000 give Springer in August, September and

 November, 2000, and adds to this the theory of $ 15,000 Patterson asserted Stilley

 to give to Springer in the “Spring” of 2003 from the proceeds of the $ 112,500. Shern

 even referenced this as for “services rendered.” Shern stated that he reviewed the

 IOLTA account of Stilley. Exhibit 20, at 6. If this was so, he would have known the

 $112,500 was in late July and not “Spring.”


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       First, Shern knew the $ 112,500 was in July, 2003, and not in the “Spring” when

 Patterson was “indicted.” Shern lied here to make it look like Springer charged $

 15,000 to Patterson when he was indicted. In other areas Shern makes it look like

 the $ 15,000 theory in July of 2003 was the finally payment of the $ 45,000 Shern says

 Patterson claimed he paid Springer. Shern also knew Patterson got $ 30,000 and

 Springer did not get $ 15,000 from the $ 112,500. These were all false statements

 intending to lead someone into believe Shern’s theory.           The truth is Patterson

 actually had no money when he was indicted and was in the process of asking

 Barringer for the $ 5,000 retainer he had given Mr. Barringer in 2000 to be returned

 to him because it looked to Patterson like it was not ever going to be needed. See

 Exhibit 8, pg. 2 for amount of check. This entire line of statements were entirely false

 and Shern, Horn and Nelson, knew it at the time Shern made the unsworn

 statement.

       Next is the $ 90,000 paid to Springer for “services rendered.” Shern states

 “Stilley paid Springer $ 90,000 of this money” and this money he meant the

 “insurance settlement” Patterson received with an offer to buy his contract. Shern

 accepts this happened in November 2003. Exhibit 20, at 6.

       What Shern leaves out is Patterson was to go to trial in September of 2003.

 His attorneys Stilley and Barringer had worked from April when he and his wife got

 indicted, until the end of July, 2003, without any expectation of being paid

 anything. In fact, Barringer and Stilley were planning on going to trial without any


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 realistic hope of ever being paid because Eddy and Judy Patterson had no way

 of paying for anything. There was no way either Barringer or Stilley would have

 known in November, 2003, that the insurance company getting tire of paying Hall

 Estel hundreds of thousands of dollars a month, would seek to pay Patterson for his

 insurance contract. There first offer was $ 100,000 of which all would have gone to

 Hall Estel for their current fees Patterson owed. Of the $540,000 settlement, See

 Exhibit 8, pg. 3, only $ 375,000 made its way to Oscar Stilley. $ 165,000 was paid to

 Hall Estel. Of this Shern knows Patterson received over $ 112,500, for himself. Exhibit

 8, pg 3. Yet, Shern states the $ 90,000 was for “Springer’s expertise and services

 rendered.” Exhibit 20, at 6. Springer was owed no money from Patterson ever and

 Shern knew this at the time he wrote his unsworn statement.

       The remaining $ 15,000 was for services “rendered” by Springer for Patterson’s

 criminal defense?     Patterson did not “believe that Springer had any kind of

 ‘religious ministry.” Id. As stated above, and as the exhibits show, these statements

 are unsupported by any evidence and Shern, Horn and Nelson, knew this at the

 time Shern made his unsworn statement on or about September 15, 2005.

       In September 2003, Patterson settled with his insurance company for $

 540,000k. Exhibit 8, at 3. Out of the $ 400,000 “Stilley gave Springer $ 90,000.” Id.

 “Stilley said the money was for Springer’s expertise and that he need to be paid for

 his services.” Shern makes this statement as if Stilley said it when Stilley never said

 any such thing. This is a false statement by Shern. Stilley advised Patterson Pay


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 Springer. Id. Patterson did not give this permission until after he met with Springer.

 Springer said it was “less than what he normally charges” and that it was based

 upon the ability to pay. In order to believe Shern on this (and Patterson if he

 actually said it) this Court would need to conclude many facts clearly not present.

       First, Shern says this took place in November, 2003, which is right before Trial.

 Second, Springer would have had some ongoing claim or bill Patterson’s owed him

 which there is not any such evidence on the planet earth. Third, how would

 Springer have known the insurance company was going to make an offer to buy

 out Patterson’s contract that was paying Hall Estel Firm hundreds of thousands a

 month? Of for that matter, that any such settlement could be reached. Springer

 had no control over any of that but to accept Shern’s unsworn statements, this

 Court would need to believe Springer knew this offer was coming in 2000 or 2003,

 Patterson was always indebted to Springer , and that after everyone was “paid”

 there would be some for Springer to be “paid.”

       The evidence does not support Shern’s statement of events and Shern, with

 the slightest bit of investigation would have known that his statements were false.

 Shern and Arsenault write that Patterson told them “money was important to Hall

 Estill as the insurance check had not arrived at the time when he was deciding who

 to represent him.” Exhibit 8, pg. 4. Patterson was indicted in April of 2003 and the

 insurance company did not even begin to offer to buy out Patterson’s policy until

 September, 2003, and the deal was not accepted until early November, 2003.


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 Shern and Arsenault act like Patterson knew in April he was going to get some buy

 out of his policy at some near future date. That is simply far fetched and ridiculous.

 They had to continue with this false statement of material fact because otherwise

 they would have to accept the truth that Springer was never owed any money by

 Patterson and in fact up until the $ 112,500 out of no where, Stilley and Barringer

 had no money to defend the Pattersons and continued to defend regardless.

       Patterson understood that $ 60,000 was to be returned to Patterson if the “civil

 case did not go forward.” Id. Springer had previously told him the $ 15,000

 payment “was all he needed.” This was done in the “later” part of 2003. Id As

 stated above and the substantial evidence shows that the $ 60,000 “return” theory

 is simply ridiculous. Arsenault even suggests that the $ 60,000 was to be turned over

 to Judy Patterson when she got out of prison. Exhibit 8, at 4. There is no evidence

 of Springer being paid for any services rendered whatsoever and Shern knew it

 from the first time he looked into the facts of this part of his statement. Shern knew

 about Exhibit 26 and failed to mention it in his unsworn statement. If Springer was

 to give back $ 60,000 then how was Springer “paid” $90,000" for “expertise and

 services rendered for the Pattersons.” Exhibit 20, at 6 The theory Shern advances

 is simply absurd and unbelievable.1


       1
        Shern is known for some unbelievable claims. In 06-156, Shern has
 advanced arguments like Special Agent Training does not include learning how
 to count individual notes of currency, Agents only Count bundles when they are
 to locate currency, $ 19,000 is really $ 17,000, and he did not know he could be
 held personally liable for either the theft or cover up of the theft of money

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       None of these unsworn statements are reliable and Shern and Arsenault

 should have known that at the time Shern sought his search warrant.             Shern

 certainly should have known they were false at the time he made out his unsworn

 statement dated on or about September 15, 2005.

       There were so many false statements in Exhibit 8 and Shern’s unsworn

 statement that anyone would have known no probable cause existed to believe

 Patterson or Shern. Patterson had recently been convicted of making false claims

 and false statements to the SEC and continued to deny any wrong doing. See

 Exhibit 28 (Trial Brief of Nelson); See Exhibit 22 (Joint Agreement),


 8.    THERE IS NOT ONE SHRED OF PROBABLE CAUSE TO BELIEVE ANY OF THE
       “EVIDENCE” SOUGHT BY SHERN IN HIS UNSWORN AFFIDAVIT WOULD BE
       LOCATED IN THE HOME SPRINGER LIVES IN.


       At all times Springer had the right to privacy in his home and was protected

 from unreasonable searches and seizures. Shern states he spoke to IRS Special

 Agents, including Special Agent Donna Meadors, and read memos before he

 sought the Search Warrant in this case.        Not a single person ever identified the

 place where Springer lives as a place containing any of the “evidence” sought by

 Shern on page 24 of his unsworn statement. There is not a single statement that

 Springer runs a business out of his house. No statement Springer provides any

 services out of his house. The only statements unsworn are that cars in the front yard



 belonging to Springer, just to name a few.

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 are registered to Springer and they are lien free. Sure sounds like a affirmative act

 of tax evasion doesn’t it? Thats it. Out of all the “items” to be seized only 2, 3 and

 4, were even remotely understandable and those there was no probable cause to

 believe any of it existed in the home Springer lives in. What was the currency listed

 as “evidence” of a crime? Nelson stated it could be taken as evidence of “cash

 dealing.” She even thought she could keep as forfeited property for a while.

 Everything in Attachment B to the Search Warrant is derived from page 24 of

 Shern’s unsworn statement.

       Based upon the “information contained in this” unsworn statement, Shern

 stated he had probable cause to believe and did believe that within Springer’s

 home he would find “records evidencing Federal Violations of Title 26, U.S.C. § 7201

 and 7203, including all “records” described in Attachment B.

       Here, the “records” listed in Attachment B are now the basis for the unsworn

 statement purported as an Affidavit in Attachment C. Yet Attachment B has no

 support from anything in Attachment C.         Without Attachment C, there is no

 probable cause and no warrant. Without a warrant there is only a intentional

 violation of Springer’s Fourth and Fifth Amendment Rights.

       Shern’s “knowledge” is nothing but a generalization of anything at any time

 and anywhere. There is nothing from page 19 to 24 that specifically states how

 Shern believes there is probable cause that he will find these “evidences” listed in

 Exhibit B in Springer’s home. Nothing else in the unsworn statement would lead


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 anyone to believe any evidence sought in Attachment B would be supported by

 probable cause derived from Attachment C. Nor would anyone conclude after

 reading Attachment C that what is listed in Attachment B is anything other than a

 fishing expedition into the Fourth Amendment protected private home of Springer.


 9.    SPRINGER’S HOME WAS PROTECTED BY THE FOURTH AMENDMENT FROM
       UNREASONABLE SEARCH AND SEIZURES.

       At all times Springer had the right to privacy in his home and was protected

 from unreasonable searches and seizures. Many brave men and women gave

 their life so that each person involved in this case could peacefully advance their

 own rights and issues today in 2009. The right to be secure in one’s home is one of

 those rights. Imagine giving your life so others can be safe from Government

 intrusion into a mans private home. Men and Women did not give their life so

 Special Agents of the IRS could invade a mans home because of speculative

 heresay and false manufactured unsworn statements. Nor did they give their life

 so Government Attorneys with something to hide can attempt shifting their deceit

 upon someone else instead of examining their own prejudices.

       Congress had no power to give to a United States Magistrate to authorize an

 invasion of Springer’s Home based upon the unsworn statement of Shern or the fact

 nothing in Attachment B is derived from Attachment C.

       It was unreasonble for the United States to invade Springer’s private home

 seeking things Springer wrote or possessed that he held in private in his home to use



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 against him.

       This Court should find that with no sworn affidavit, no probable cause, no

 mention of anything from Attachment B in Attachment C, that U.S. Magistrates are

 not authorized to direct anyone to storm the home of Springer located in the State

 of Oklahoma, County of Creek, Congressionally or Constitutionally, and that

 coupled with the false and manufactured statements of Shern and Patterson,

 coupled with the false pretenses in which Special Agent Meadors obtained the

 information Shern relied upon to unsware out his unsworn statement in Attachment

 C, there can be only one conclusion.

       The purported search warrant in this case violated Springer’s Fourth

 Amendment Rights and sought to violate Springer’s Fifth Amendment Rights with

 the information it sought.

 10.   CONCLUSION

       Lindsey K. Springer respectfully request this Court find that (1) Springer has

 demonstrated substantial and convincing evidence that a Frank’s Hearing should

 be held on July 2, 2009, and further that (2) Attachment C is not sworn before

 anyone, (3) contains information gathered in violation of Springer’s Fourth and Fifth

 Amendment Rights by Special Agent Meadors, (4) that Brian Shern’s reliance upon

 Special Agent Meadors was improper and in bad faith, (5) that Shern’s unsworn

 statement contains known false statements otherwise, (6) that nothing in Shern’s

 unsworn statement would lead anyone to believe what is listed in Exhibit B would



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 be found in Springer’s home, (7) that at all times Springer’s home should have been

 protected under the Fourth Amendment from the United States seeking evidence

 to use against Springer in violation of the Fifth Amendment, from his private

 protected home, (8) that the Magistrate lacked authority to issue any Search

 Warrants located territorially in the State of Oklahoma, and (9) that having removed

 all the unlawful conduct contained in the unsworn statement of Shern, there is

 simply no doubt no probable cause existed to believe any evidence of any

 violation of section 7201 or 7203 existed in the private home locate of Springer

 subject to protection under the Fourth Amendment and presented to anyone.




                                 Respectfully Submitted
                                 /s/ Lindsey K. Springer
                                 Lindsey K. Springer
                                 5147 S. Harvard, # 116
                                 Tulsa, Oklahoma 74135
                                 918-748-5539/955-8225(cell)




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                             CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of Lindsey Kent Springer’s

 Memorandum of Law in Support of his Motion to Suppress and for a Frank’s Hearing

 accompanied with attached exhibits, was ecf’d on June 1, 2009, to:



 Kenneth P. Snoke,
 Charles O’Reilly,
 Oscar Stilley




                          /s/ Lindsey K. Springer
                          Signature




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